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UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
In re: ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case NO. 01-01139 (JKF)
) (Jointly Administered)
DEBTORS. )
)

DECLARATION OF SERVICE

I, Kathleen M. Davis, declare as follows:
1. I am over the age of 18 years and not a party to the within action.

2. I am employed by Sullivan Hazeltine Allinson LLC, 4 East 8th Street, Suite 400,
Wilmington, DE 19801.

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On the 9" day of April, 2008, I caused copies of the following documents to be
served upon the parties listed on “Exhibit 1,” attached hereto, via facsimile:

e Order Granting Expedited Consideration of the ZAI Claimants’ Motion
for Relief from Automatic Stay (Docket No. 18470); and

e Order Amending Order Granting Expedited Consideration of the ZAI
Claimants’ Motion for Relief from Automatic Stay (Docket No. 18471).

I declare under penalty of perjury that the foregoing is true and correct.

Date: April 9, 2008 By: (atartoon yn re

Wilmington, Delaware Kathleen M. Davis

